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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Johnny Flores, et al. v. Motorola Case Number: 20 C 1128
            Solutions, Inc. and Vigilant
            Solutions, LLC
An appearance is hereby filed by the undersigned as attorney for:
Defendants Motorola Solutions, Inc. and Vigilant Solutions, LLC
Attorney name (type or print): Reanne Zheng

Firm: Jenner & Block LLP

Street address: 353 N. Clark St.

City/State/Zip: Chicago, IL 60654

Bar ID Number: 6327827                                     Telephone Number: 312-840-7379
(See item 3 in instructions)

Email Address: rzheng@jenner.com

Are you acting as lead counsel in this case?                                    4 Yes              No

Are you acting as local counsel in this case?                                        Yes       4 No
Are you a member of the court’s trial bar?                                           Yes       4 No
If this case reaches trial, will you act as the trial attorney?                      Yes       4 No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel" are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this $ourt an attorney must either be a member in good standing of this $ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 &.%.$#§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 03/11/2020

Attorney signature:            S/ Reanne Zheng
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
